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PO\NER JAMB, LLC, and |V|lCHAEL o 8 CV 0431! n

BiSHOP,
Plaintiffs,
- against-
DOCKET NO.:
THE Cl'l'Y OF NEVV YORK, THE NEW
YORK ClT¥ FiRE DEPART|V|ENT, VER|FIED COMPLA|NT

THE NEW YORK C|TY FlRE AC)"-\DE|\J'|Yl
CHlEF STEPHEN GERAGHTY, CHlEF
THOMAS ROBSON, CAPTAIN ROBERT
HIGG!NS, FlREi-'|GHTER ROBERT R|VERA,
AND “JOl-IN DOE," Nos. 1-10, individually and
in their official capacities as employees of the
City of New ‘(ork,

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Defendants.

 

P|aintlffs, by the undersigned attorneys, set forth the following as their complaint against
the defendants:

Nature of the Action

l. This is an action seeking injunctive relief and damages for willful patent
infringement of United States Patent Number 5,906,493, (the ‘493 patent), and common
law unfair competition against the aforementioned defendants

Jurisdiction and Venue
2. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §1331 (federa| question) and 28 U.S.C. §1338 (patent, trademark and copyright),
and pursuant to 28 U.S.C. §1338(b),_pendent jurisdiction over plaintiffs state law claims_
Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §§ 1391(!3)

and (c))_

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The Parties
3. Plaintiff Power Jamb, LLC, (“Power Jamb”), is a-New Yorl< limited liability
company with its principal office located at 77 Alphonse Road, Brocl<ton,
lvlassachusetts. Power Jamb is the exclusive licensee of the ‘493 patent in the Unlted
States and has the sole and exclusive right to make, use, sell and othenNise
commercialize the device covered by the ‘493 patent. A copy of the ‘493 patent is
attached hereto as exhibit A.
4. P|aintiff l\liichae| Bishopl ("Bishop”), is the inventor, sole owner and licensor of
the device covered by the ‘493 patent and is a citizen and resident of the
Commonwealth of ll/lassachusetts.
5. Defendant City of New York, ("City”)1 is a municipal corporation existing under
the laws of the State of New York.
6. Defendant Fire Department of the City of New York, (“FDNY"), is an agency of
defendant City.
7. Defendant New \’orl< City Fire Academy, (“the Academy”), is a division of FDNY
and is charged With the responsibility of training new trainees for the position o`f
firefighter with the FDNY.
8. Defendant Chief Stephen Geraghty, (“Geraghty"), Was at all relevant times, and
is an employee of FDNY. Upon information and belief, Geraghty is resident of the State
of New York.
9. Defendant Chief Thomas Robson, (“Robson"), was at all relevant times, and is
an employee of FDNY. Upon information and belief, Robson is resident of the`State of
New York.
10. Defendant Captain Robert Higgins, ("l-liggins"), Was at all relevant times, and is

an empioyee of FDNY. Upon information and belief, Higglns is resident of the State of
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New York and at all relevant times, was the officer in charge of probationary firefighter
training_

ll. Defendant Robert Rivera, (“Rivera"), was at all relevant times, and is an
employee of FDNY and is currently assigned to Engine 241, Ladder 109 within the
FDNY. Upon information and belief, Rivera is resident of the State of New York.

Facts Common To Ail Causes Of Action

 

12. F’laintiffs have complied with all condition precedents required under New York’s

General lVlunicipal Law, Article 50, to bring this action; to wit, by filing with the New Vork

City`s Comptroller’s Office, a notice of claim on November 2, 2007.

13. Bishop is a former lieutenant with the FDNY, retiring with distinction of service in

1999 and received a “Hero of the lVlonth” award from the FDNY in 1998.

14. On December 31, 1997, Bishop filed an application for letters patent with the

United States Patent and Trademark Office for a device, ("Training Device"), used for

training new firefighter trainees the proper technique for prying open locked doors.

15. Starting in or about April 1999, defendants City, FDN¥ and Academy started

purchasing units of the Training Device from Bishop.

16. On lviay 25, 1999, the PTO granted Bishop the ‘493 patent covering the Training

Device.

17. Defendants City, FDNY and Academy continued to make several purchases of

the Training Device from plaintiffs until approximately 2006 when defendants started to

manufacture devices (the “Accused Devices”), that copy and infringe upon the claims
- of the ‘493 patent and used these Accused Devices at the facilities of the Academy to

train new trainees and to maintain the skills of defendantsl firefightersl

18. Defendants’ manufacture and use of the Accused Devices was and is without

plaintiffs’ permission and consent
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19. Defendants’ acts of manufacture and use of the Accused Devices were done
with full notice and knowledge of plaintiffs’ exclusive patent rights and were undertaken
willfully and in reckless disregard of plaintiffs’ rights

First Cause of Action

(Patent lnfringement)
20. Plaintiffs repeat each allegation contained within paragraphs 1 through 19 as if
more fully set forth herein.
21. Defendants’ manufacturel use and distribution of the Accused Devices which
implement the claims of the ‘493 patent constitute willful patent infringement in violation
of §§ 271, 281 of the Patent Act, (Tltle 35 U.S.C.A.).
22. Defendants’ infringement of plaintiffs‘ ‘493 patent has caused plaintiffs’ to sustain
substantial damages in lost sales in an amount to be determined by the Court.

Second Cause of Action

 

(|njunctive Re|ief)
23. Plaintiffs repeat each allegation contained within paragraphs 1 through 22 as if
more fully set forth herein
24. Despite notice of plaintiffs' patent rights, defendants continue to infringe and
induce infringement of the ‘493 patent within the Southern District and elsewhere in the
United States and will continue to do so unless enjoined by this Court.
25. Plaintiffs have no adequate remedy at |aw.

Third Cause of Action

 

(Common Law Unfair Competition)
26. Plaintiffs repeat each allegation contained within paragraphs 1 through 25 as if

more fully set forth herein.

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27. Defendants' continued manufacture use and distribution of the Accused Devices
substantially and irreparabiy damages the market for plaintiffs' products and because
defendants Accused Devices are paid for by the taxpayers of the City of New York and
other public sources, defendants’ acts of infringement constitute unfair competition
under the common iaw.
28. On account of defendants' activities in this State, County and Southern District of
New York. plaintiff has been damaged in an amount not as yet ascertained but to be
determined by the Court.

Third Cause of Action

(Accounting)

29. Plaintiffs repeat each allegation contained within paragraphs 1 through 28 as if
more fuliy set forth herein.
30. Defendants have utilized the Accused Devices to their benefit and to the
detriment of plaintiffs in the form of lost sales and/or licensing fees. Such utilization of
the Accused Devices has caused plaintiffs to sustain lost sales and revenues in an
amount that is presently unknown, but believed to be in excess of $75,000 that would be
othen)vise payable to plaintiffs
31. The exact value of the benefit received by defendants is unknown to plaintiffs
and can only be determined by an accounting Plaintiffs are informed that the value of
defendants wrongfully gained benefit is in excess of $75,000.
32. Plaintiffs have demanded an accounting by defendants of the number of
Accused Devices that they have manufactured distributed and used;' Defendants have

failed and refused to provide such an accounting or to pay plaintiffs any sums due.

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Fourth Cause of Action
(Unjust Enrichment)

33. Plaintiffs repeat each allegation contained within paragraphs 1 through 32 of the
complaint as if more fully set forth herein.
34. Pursuant to contractual agreements for several years, defendants City, FDN¥
and Academy purchased units of the Training Device and found that the Training Device
benefited defendants and its personnel Additionaliy, defendants City, FDNY and
Academy contracted with Power Jamb for its to service and maintain units of the
Training Device as well as to furnish parts and labor.
35. As a result of the tong term contractual relationship between defendants and
Power Jamb, defendants learned how to service and maintain the units, and derived
benefits therefrom.
36. As welll upon information and beliefl Geraghty, Robson, Higgins, Rivera and
other employees and agents of defendants gained the benefit of favorable performance
reviews as a result of their participation in the aforementioned infringing conduct
37. The benefits received by defendants were to the detriment of plaintiffs
38. As a result of the foregoing, defendants were unjustly enriched and accordingly,
this Court in the exercise of its equitable powers should require defendants to make
restitution to piaintiffs in an amount to be determined by the Court, but is believed to be

in excess of $75,000.

Fifth Cause of Action

 

(Common law Negligence)
39. Plaintiffs repeat each allegation of paragraphs t through 38 as though fully set

forth herein.

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40. Defendants City and FDNY had a duty to supervise, regulate and govern their
employees and agents when performing their public and quasi-public activities

41. ln the event that some of their employees and agents engaged in conduct that
violate the statutory and common law rights of a member of the public, defendants City
and FbNY had a duty to discipline such employees

42. Defendants City and FDNV knew or had reason to know that some of their
employees and agents violated the propriety rights of plaintiffs yet they failed to take
any appropriate or meaningful steps to discourage, investigate, intervene or discipline
each and all of the individual defendants for the conduct complained of herein.

43. Upon information and belief, defendants City and FDNY knew or had reason to
know that some or all of the individual defendants named herein used public facilities
and/or public funds to create, manufacture and!or distribute defendants' unauthorized
and infringing copies of plaintiffs' Training Device and failed to take steps to prevent
improper use of such public facilities and/or funds

44. Defendants City’s and FDNY’s failure constitutes negligence by which plaintiffs
have been damaged

WHEREFORE, plaintiffs demand judgment

finding that the defendants has copied plaintiffs’ patented innovations and products

preliminarily and permanently enjoining and restraining each of the defendants their

agents servants employees successors and assigns and all those acting in concert or

participation with it, from:

(i) manufacturing producing using and distributing products embodying the subject

matter of the invention of the ‘493 Patent;

(ii) engaging in any other activity constituting an infringement of the ‘493 Patent;

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(iii) assisting, aiding or abetting any other person or entity in engaging in or
performing any of the activities referred to herein;
c. directing that the defendants at their sole expense, recall Accused Devices that embody
the inventions of the claims of the ‘493 Patent which were manufactured, distributed sold or
shipped by them and to reimburse their customers from whom said merchandise was recalled;
d. directing that the defendants deliver to plaintiffs’ attorneys or representatives for
destruction all products molds plates dies and any other materials in their possession or
under their control which embody the inventions of the claims of the ‘493 Patent;
e. directing that the defendants file with the Court and serve on plaintiffs’ counsel a report
in writing and under oath setting forth in detail the manner in which they have complied with any
temporary restraining order, or preliminary or permanent injunction entered herein within thirty
(30) days of receipt of service of any such order or injunction;
f. directing the defendants to account to plaintiffs for actual damages suffered by itl
including its lost sales as a result of the infringement and the active inducement of infringement
of the ‘493 Patent, directing that such damages be trebled because of the willful and deliberate
nature and character of the infringement1 together with an assessment of interest, and
awarding plaintiffs judgment in that amount against the defendants
g. directing the defendants to account to plaintiffs for the defendants unjustly received
profits resulting from infringement of the ‘493 Patent;
h. for an assessment of costs interest and attorneys' fees incurred by plaintiffs and

i. for such other and further relief as the Court deems just and proper.

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Dated: New York, New York

Januai'y 15, 2007 %\

hit A. bailey (.i 2397)

    

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EXHIBIT A

 

 

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United States Patent ita
Bishop

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USOOS906493A

5,906,493
May 25, 1999

[11] Patent Number:
[45] Date of Patent:

 

[54] FIREF{GHTER TRAINING DOOR DEVICE

[76] lnventor: Michael Bishop, 64-19 65th St., Middle

Vi]lage, N.Y. 11379

[21] Appl. No.: 09/001,932
['2.2] Fi_led: Dec. 31, 1997

[51] Int. Cl.(' G09B 19/00
[52] U.S. Cl. 434/226; 292/357; 49_/141;
49/394; 49/503; 70/'465

[58] Field of Search 434/226; 49/141,
49/503, 394; 70/465, 467; 292/341.16,

357; 414/684.3

  

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5,203,70'.? 4/1993 Musto .. 434/226
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Primary Examiner-Jessica }. Harrison
Assist‘ant Examiner-David A. Fleming
Attorney, Agent, or Firm_Goldstein & Canino

[57] ABSTRACT

Atraining device, for mounting to a standard door having a
cutout at middle height, the door mounted in a door frame
having a Sl.t'ike plate at middle height A sliding box is
mounted in the cutout for slidable motion toward and away
from the strike plate. At least one spring is mounted between
the sliding box and the cutout for biasing the sliding box
toward the strike plate The spring is selected to resist
compression and thus motion of the sliding box away from
the strike plate. The amount of resistance that the spring
provides is equivalent to the amount of resistance presented
by a doorknob and locking assembly on standard doors
Tbus, a crowbar-like tool may be used to pry tl:ie sliding box
away from the strike plate to open the door and simulate the
force and action necessary to pry open any standard door.

` 6 Clairns, 5 Drawing Sheets

HRW

 

 

 

 

 

 

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U.S. Patent May 25, 1999 sheet 2 of s 5,906,493

 

 

 

 

 

 

 

 

 

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F[REFIGHTER TRAINING DOOR DEVICE

BACKGROUND OF THE INVENTION

The invention relates to a firefighter training device. More
particularly, the invention relates to a device specifically
designed to demonstrate to a firefighter the proper technique
for prying open a typical locked door.

In order to most effectively fight a fire in a burning
building, a firefighter needs access to various points around
the frre. ln addition, one of the primary tasks of 11 firefighter
to ensure that no occupants remain trapped, injurcd, or
unconscious in the building However, often locked doors
stand in the way of properly fighting the fire, or fully
inspecting a building to ensure that no one has remained
inside

Various firefighter training regimean are lime honored,
and are necessary to ensure that a firefighter is best equipped
to deal with any situation that may be encountered in the
field. Thus, firefighter training not only involves the teaching
of rescue skills but also involves teaching practical skills
well known by any veteran tireftghter-such as how to gain
access to an otherwise locked building structure Gaining
access to a locked building involves a variety of techniques
from breaking a window with an ax, to prying open a door
with a crowbar-like tool known as a “`Haligan tool”.

Training a fledgling h`ret"lghter to use a “Haligan tool”
generally involves practicing the act of prying open a locked
open. However, very often the door is mined by this attempl,
especially when the students try for the first time. Thus,
many doors are mined during the training exercises

Various devices are available to enhance other aspects of
firefighter training While these units may be suitable for the
particular purpose employed, or for general use, they would
not be as suitable for the purposes of the present invention
as disclosed hereafter.

SUMMARY OF THE lNVENTION

lt is an object of the invention to produce a training device
which teaches a firefighter how to pry open a locked door.
The invention installs into a standard door, replacing the
lock mechanism, and simulates the response of the lock
mechanism to a prying action. The invention includes a
sliding assembly which slides a small distance laterally
away from the strike plate when properly pryed.

It is another object of the invention to provide a training
device which closely emulates the resistance presented by a
lock mechanism of a standard door. The invention includes
one or more springs that are positioned adjacent to the
sliding assembly to resist lateral movement of the sliding
assembly

lt is a further object of the invention that the resistance is
adjustable to simulate different doors The spring tension
may be adj usted, and the springs may be replaced to provide
suitable resistance

The invention is a training device, for mounting to a
standard door having a cutout at middle height, the door
mounted in a door frame having a strike plate at middle
height A sliding box is mounted in the cutout for slidable
motion toward and away from the strike plale_ Al least one
spring is mounted between the sliding box and the cutout for
biasing the sliding box toward the strike plate. The spring is
selected to resist compression and thus motion of the sliding
box away from the strike plate. The amount of resistance that
the spring provides is equivalent to the amount of resistance
presented by a doori<rtob and locking assembly on standard

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doors Thus, a crowbar-like tool may be used to pry the
sliding box away from the strike plate to open the door and
simulate the force and action necessary to pry open any
standard door.

To the accomplishment of the above and related objects
the invention may be embodied in the form illustrated in the
accompanying drawings Attention is called to the fact,
however, that the drawings are illustrative only. Variations
are contemplated as being part of the invention, limited only
by the scope of the claims

BRIEF DESCRIPTION OF THE DRAWINGS

In the drawings like elements are depicted by like refer-
ence numerals The drawings arc briefly described as fol-
lows.

FIG. 1 is a front elevational view, illustrating a standard
doon

FlG. 2 is a front elevational view, illustrating a door,
wherein a cutout has been made, and holes have been drilled
to allow installation of the invention.

FIG. 3 is an assembly drawing, illustrating the sliding box
being mounted in the cutout, with a pair of springs installed
between the sliding box and cutout.

FiG. 4 is an assembly drawing, illustrating the front and
rear cover plates being installed over the door and sliding
box1 and being secured in place with bolts

FIG. 5 is a diagrammatic perspective view, illustrating a
tool being applied to the fully installed invention

FIG. 6 is a front elevational view, wherein the tool has
pryed the sliding box away from the strike plate.

DETAILED DESCRIPTION OF THE
PREFERRED EMBOD]MENI`S

FIG. 1 illustrates a standard door 10 and door frame 12.
The door is mounted to the door frame 12 with hinges 14.
An inside edge 16 of the door 10 is opposite the hinges 14.
A lock and doorknob assembly 18 is located on the door 10
at middle height near the inside edge 16, which is actually
slightly below the middle of the door, but which more
specifically refers to the height of the lock and doorknob
assembly on any standard door. Astrike plate 20 is mounted
to the door frame 12 adjacent to the lock and doorknob
assembly 18, for cooperating with the lock and doorknob
assembly 18 to latch and lock the door. To pry open a locked
door of the type illustrated, a tool is inserted between the
inside edge 16 and the strike plate 20 to provide enough
clearance for the lock and doorknob assembly to unlatch
from the strike plate 20.

FlG. 2 illustrates the door 10, which has been prepared for
installation of the invention by providing a cutout 22 extend-
ing from the inside edge 16 toward the hinge 14, for a
distance known as a cutout depth. The cutout 22 is at middle
height on the door. The cutout 22 has a cutout upper edge 24,
a cutout lower edge 26, and a cutout back edge 28.

lllustrated in FIG. 3, a sliding box 30 is provided to fit
within the cutout 22. Also illustrated in FIG. 3, a pair of _
springs 32 are mounted between the sliding box 30 and the
cutout back edge 28. The springs 32 are seated in spring
mounting holes 34 that are present on both the cutout back
edge 28 and the sliding box 30. The springs 32 bias the
sliding box 30 toward the inside edge 16 of the door 10. The
sliding box 30 features a mock door knob 36 and a mock
latch 37 which is located on the sliding box 30 where the

‘ lock and doorknob assembly would be mounted on a stan-

dard door 10. The sliding box 30 also has a pair of guide
holes 38 which extend fully through the sliding box 30 .

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Referring to FlG. 4, a front plate 40 and a back plate 42
are mounted to opposite sides of the door 10 over the cutout
22, sandwiching the sliding box 30 in the cutout 22. The
front plate 40 and back plate 42 are mounted to the door 10
with a plurality of mounting bolts 44, which are fastened
with mounting nuts 46. The mounting bolts 44 extend
through mounting holes 48 which are present in a matching
pattern on both the front plate 40 and back plate 42. The
mounting holes 48 are also present on the door 10 to match
the pattern on the front plate 40 and back plate 42. However,
as illustrated7 one or more of the mounting bolts 44 can
extend directly between the front plate 40 and back plate 42,
by extending between the cutout back edge 28 and the
sliding box 30.

The front plate 40 and back plate 42 each have a pair of
guide slots 50, and a knob indent 52 for accommodating the
mock door knob 36 and avoiding interference between the
mock door knob 36 and the front plate 40 and back plate 42
which might limit motion of the sliding box 30. The guide
holes on the sliding box 30 correspond with the guide slots
50 when the front plate 40 and back plate 42 are mounted to
the door 10.

Referring to FIG. 5, the front plate 40 and back plate 42
have been installed onto the door 10 with the mounting bolts
44, Guide bolts 54 have been inserted through the guide slots
50 and through the guide holes 38 in the sliding box 30. The
guide slots 50 limit the lateral travel of the sliding box 30
toward and away from the strike plate. The sliding box 30 is
exerting a force against the strike plate 20 under a decom-
pressive force exerted by the springs, engaging the mock
latch 37 with the strike plate.

lllustrated in FIG. 5, a “haligan” tool or crowbar 60 is
being inserted between the sliding box 30 and strike plate.
The application of said tool in FIG. 5 and FIG. 6 is shown
not for purposes of illustrating proper use of said tool, but for
purpose of demonstrating operation of the invention

In FIG. 6, the crowbar 60 has been used to pry the sliding
box 30 from the strike plate 20. The springs have been
compressed, and have exerted resistance to said compres~
sion which mimics the resistance otfered by the locking
assembly on a standard door. With the force exerted by the
sliding box against the strike plate relieved, and the mock
latch 37 cleared of the strike plate, the door may be urged
open with the crowbar 60.

lt should be further noted that the springs may be inter-
changed to simulate different doors and locking mecha-
nisms. Since different locking mechanisms require diEerent
amounts of force before they are overcome, varying the
springs makes the exercise more challenging to the trainee.
Such varyance also trains the tiedgling firefighter to get a
feel for the proper amount of force necessary under a given
set of circumstances

In conclusion, herein is presented a training device which
allows for proper demonstration of the techniques necessary

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for prying open a locked door. 'I`he device includes a sliding
box assembly which offers resistance to opening, but which
can be overcome in a similar manner and with similar force
that a conventional door can be pryed open. The sliding box
is not damaged when pryed open, thus the training device
can be used over and over.

What is claimed is:

1. A training device, for training the technique of opening
a conventional locked door which has a lock and doorknob
assembly, comprising:

a standard door having an inner edge and a cutout at
middle height extending into the standard door from the
inner edge;

a door frame having a strike plate at middle height;

a sliding box slidably mounted within the cutout adjacent
the strike plate for slidable motion toward and away
from the strike plate, the sliding box having a mock
door latch which selectively engages the strike plate as
the sliding box moves toward the strike plate;

a spring means between the sliding box and the cutout,
biasing the sliding box against the strike plate such that
the sliding box may be pryed away frorn the strike plate
using similar force as would be required to pry the lock
and doorknob assembly of the conventional locked
door from the strike plate to open said door.

2. The training device as recited in claim 1, further
comprising a front plate and back plate which mount to the
door, sandwiching the sliding box therebetween.

3. The training device as recited in claim 2, wherein:

the front plate and back plate further each comprise at
least one guide slot;

the sliding box comprises at least one guide hole which
corresponds with the guide slots when the front plate
and back plate are mounted to the standard door; and

a guide bolt extends through the guide slots and through
the guide hole such that the guide slot limits the lateral
motion of the sliding box by interfering with lateral
motion of the guide bolt beyond the guide slot.

4. The training device as recited in claim 3, wherein the
cutout has a back edge, wherein the cutout back edge and the
sliding box both have spring mounting holes; and wherein
the spring means further comprises a pair of springs which
are seated in the spring mounting holes to bias the sliding
box toward the inner edge of the door_

5. The training device as recited in claim 4, wherein the
sliding box further comprises a mock door knob.

6. The training device as recited in claim 5, wherein at
least one of the front plate and back plate have a knob indent
for accommodating the rnock knob and preventing interfer-
ence between the mock knob and the front plate and back
plate which might limit motion of the sliding box.

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